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                            **NOT FOR PRINTED PUBLICATION**

                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

ROBERT MARCHESI,                                      §
                                                      §
       Plaintiff                                      §
v.                                                    §       CASE NO. 4:16-CV-302
                                                      §       (Judge Clark/Judge Bush)
TWIN CITY FIRE INSURANCE                              §
COMPANY,                                              §
                                                      §
       Defendant.                                     §

                   ORDER ADOPTING REPORT AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE
                   AND ORDER REMANDING CASE

       Came on for consideration the report of the United States Magistrate Judge in this action, this

matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.

§ 636. On June 9, 2016, the report of the Magistrate Judge was entered containing proposed findings

of fact and recommendations that Plaintiff’s Opposed Motion to Remand to State Court (Dkt. # 5)

should be GRANTED and that this case should be remanded to the 401st Judicial District Court of

Collin County, Texas for further proceedings.

       Having received the report of the United States Magistrate Judge, and no objections thereto

having been timely filed, this court is of the opinion that the findings and conclusions of the

Magistrate Judge are correct and adopts the Magistrate Judge’s recommendations as the findings and

conclusions of the court.




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       Therefore, Plaintiff’s Opposed Motion to Remand to State Court (Dkt. # 5) is GRANTED

and this case is REMANDED to the 401st Judicial District Court of Collin County, Texas for further

proceedings.

       This case is otherwise closed on the court’s docket.



   So Ordered and Signed
   Jun 30, 2016




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